                           Case 24-31134 Document 1 Filed in TXSB on 03/14/24 Page 1 of 7


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Zero Day Nutrition Company f/k/a GB Nutrition Company

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  12502 Exchange Suite 448
                                  Stafford, TX 77477
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Fort Bend                                                     Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
                           Case 24-31134 Document 1 Filed in TXSB on 03/14/24 Page 2 of 7
Debtor    Zero Day Nutrition Company f/k/a GB Nutrition Company                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                               When                                Case number
                                                 District                               When                                Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                            Case 24-31134 Document 1 Filed in TXSB on 03/14/24 Page 3 of 7
Debtor    Zero Day Nutrition Company f/k/a GB Nutrition Company                                          Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor     Day One Distribution LLC                                      Relationship             Affliate

                                                    District6RXWKHUQ'LVWRI7H[DV           When     3//24                 Case number, if   known31133


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal
    property that needs
                                        Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                      Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                             1,000-5,000                               25,001-50,000
    creditors                                                                             5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                          10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                     $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                               $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                              $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                            $100,000,001 - $500 million               More than $50 billion


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
                            Case 24-31134 Document 1 Filed in TXSB on 03/14/24 Page 4 of 7
Debtor   Zero Day Nutrition Company f/k/a GB Nutrition Company                           Case number (if known)
         Name


16. Estimated liabilities        $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                                 $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
                            Case 24-31134 Document 1 Filed in TXSB on 03/14/24 Page 5 of 7
Debtor    Zero Day Nutrition Company f/k/a GB Nutrition Company                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 1, 2024
                                                  MM / DD / YYYY


                             X                                                                            Michael Bischoff
                                 Signature
                                     ature of authorized
                                                       d representative
                                                         represe        of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X     V0HOLVVD$+DVHOGHQ                                                 Date March 1, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Melissa A. Haselden
                                 Printed name

                                 Haselden Farrow PLLC
                                 Firm name

                                 700 Milam, Suite 1300
                                 Pennzoil Place
                                 Houston, TX 77002
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (832)819-1149                 Email address      mhaselden@haseldenfarrow.com

                                 00794778 TX
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
              Case 24-31134 Document 1 Filed in TXSB on 03/14/24 Page 6 of 7




                               MINUTES OF A SPECIAL MEETING

                                 OF THE BOARD OF DIRECTORS

                                                 OF

                                ZERO DAY NUTRITION COMPANY


             A special meeting of the Board of Directors (the “Board”) of Zero Day Nutrition

Company, a Texas corporation (the "Corporation") was held on March ____, 2024,

at ______ o'clock p.m. (Central).
             Present at the meeting was Michael Bischoff, sole Director and sole shareholder

of the Corporation.

             The purpose of the meeting concerned the financial condition of the Corporation.

The Board received and reviewed reports furnished to it concerning the financial condition

of the Corporation. The prospect of reorganizing or liquidating under the provisions of

Chapter 11 of the United States Bankruptcy Code was discussed. Following extensive

discussions, and upon motion duly made, seconded and carried, the following resolutions

were passed by the quorum present:


             WHEREAS, the Board having received and reviewed reports furnished it
             concerning the financial condition of the Corporation: and

             WHEREAS, it appearing in the business judgment of the Board that the
             Corporation should be reorganized under the supervision of the United
             States Bankruptcy Court in the Southern District of Texas, it is hereby:

             RESOLVED, that Michael Bischoff, the CEO, the sole Director, and sole
             Shareholder of the Corporation is hereby authorized and directed to prepare
             or cause to be prepared the voluntary petition and to cause the initiation
             and prosecution of a case under the Title 11 of the United States Bankruptcy
             Code (the “Bankruptcy Case”), and to prepare or cause to be prepared all
             other documents, pleadings and other others instruments necessary to
             prosecute the Bankruptcy Case;

             RESOLVED FURTHER, that the Corporation is authorized and directed to
             employ and retain the firm of Haselden Farrow PLLC to represent the


Resolution                                        1
              Case 24-31134 Document 1 Filed in TXSB on 03/14/24 Page 7 of 7




             Corporation in its case under the Bankruptcy Code upon such retainer and
             compensation agreement as may seem in the sole discretion of the Director
             to be appropriate;

             RESOLVED FURTHER, that any and all actions taken by the CEO, sole
             Director, and sole Shareholder of the Corporation, for and on behalf and in
             the name of this Corporation, prior to the adoption of the foregoing
             resolutions, in connection with any of the foregoing matters, be and they are
             hereby, ratified, confirmed and approved in all respects for all purposes.


             There being no further business to come before the meeting, it was, upon motion

duly made, seconded and unanimously carried, adjourned.




                                                Michael
                                                    ael Bischoff
                                                               fff
                                                Sole Director
                                                     Di t for f Zero
                                                                   Z D
                                                                     Day Nutrition Company




                                                Michael
                                                    ael Bischoff
                                                Sole Shareholder for Zero Day Nutrition
                                                Company




Resolution                                         2
